 From:           PGE Info
 To:             dfrost1778@gmail.com
 Subject:        RE: CLAIM FORM/NOTICE RECEIVED AFTER CLAIM DEADLINE: PG&E Bankruptcy Case #19-30088 (DM)
 Date:           Friday, May 1, 2020 4:55:45 PM


 Debra,

 Thank you for your inquiry.

 Prime Clerk served the Rescission or Damage Bar Date Notice and Proof of Claim Form on
 broker nominees on February 28, 2020. The Court order extending the bar date for Rescission
 or Damage Claims required broker nominees to either serve the Notice and Proof of Claim
 Form on their beneficial holder clients themselves or to provide Prime Clerk with a list of
 holders to serve on the nominee’s behalf. To the extent Prime Clerk was provided with a list of
 holders, Prime Clerk served those materials as soon as practicable after receipt of such list
 from the nominee. To the extent you did not receive the materials until close to or after the
 deadline, we suggest you contact your broker nominee for more information.

 You are not prohibited from filing a Rescission or Damages Proof of Claim at this time;
 however, the Debtors reserve the right to object to all claims, including (but not limited to)
 whether they were filed after the deadline. Should the Debtors object to your claim, you will
 receive notice and have the opportunity to respond.

 You may add any supporting documentation to your claim that you believe will support your
 claim.

 Further note that Prime Clerk, as claims and noticing agent, has no role in determining the
 validity of claims.

 A copy of the Notice, as well as other publicly available pleadings, may be obtained free of
 charge at:
 https://restructuring.primeclerk.com/pge/Home-DocketInfo

 For information regarding the Debtors’ chapter 11 proceedings, please visit:
 https://restructuring.primeclerk.com/pge/Home-Index

 Please note, the Bar Dates for all claims have now passed. The extended Bar Date for persons
 or entities that purchased or acquired PG&E’s publicly traded debt or equity securities from
 April 29, 2015, through November 15, 2018 and who may have claims against PG&E for
 rescission of, or damages arising from, a purchase or sale of such publicly traded debt and
 equity securities was April 16, 2020 at 12 a.m. (Pacific Time). The extended Bar Date for
 unfiled non-governmental fire claims was December 31, 2019 at 5 p.m. (Pacific Time). The
 Bar Date for all other claims was October 21, 2019 at 5 p.m. (Pacific Time).

 PLEASE NOTE: Prime Clerk is the court appointed claims and noticing agent for
 PG&E Corporation’s chapter 11 cases. As such, we are not permitted to provide legal or
 financial advice. Further, we are not permitted to accept claims via email or fax, and any
 such information provided via either of these methods will not constitute a claim in these
 proceedings.



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 Regards,


 Prime Clerk Inquiries
 Prime Clerk
 850 Third Avenue, Suite 412
 Brooklyn, NY 11232
 primeclerk.com
 The highest level of professionalism, innovation and transparency in bankruptcy administration.

 For more information click here: http://primeclerk.com/raising-the-bar/        




 --------------- Original Message ---------------
 From: Debra Frost [dfrost1778@gmail.com]
 Sent: 5/1/2020 4:12 PM
 To: pgeinfo@primeclerk.com
 Subject: CLAIM FORM/NOTICE RECEIVED AFTER CLAIM DEADLINE: PG&E
 Bankruptcy Case #19-30088 (DM)


 Primeclerk LLC:



 This email is to provide written notice the Bankruptcy Notice for PG&E Corporation
 Case #19-30088 (DM) and Recission or Damage Claim Form was received AFTER
 the claim filing deadline of 04/16/2020. See attached USPS email “Informed Delivery”
 dated 04/18/2020 (Saturday) that clearly shows the letter from Primeclerk LLC was
 NOT delivered in time for the claim form to be submitted by the deadline of
 04/16/2020. The referenced document was not received by the recipient until
 between 04/21/2020 and 04/23/2020.



 This information should be provided to the United States Bankruptcy Court, Northern
 District of California, San Francisco Division. The Debtor’s failure to deliver required
 notice in a timely manner and provide adequate time to file should not be a valid
 reason for denial of the claim.



 Thank you for your assistance in this matter.



 Sincerely,



 Debra Jean Frost


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 Prior PG&E Employee

 432 W Shaw Road

 Elizabeth, IL 61028

 530-260-4478




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